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                             MAZIE SLATER KATZ & FREEMAN, LLC
                                       103 Eisenhower Parkway, Suite 207, Roseland, NJ 07068
                                            Phone: (973) 228-9898 - Fax: (973) 228-0303
                                                       www.mazieslater.com

David A. Mazie*                                                                                    Karen G. Kelsen°
Adam M. Slater*°                                                                                   Cory J. Rothbort*°
Eric D. Katz*°                                                                                     Michael R. Griffith°
David M. Freeman                                                                                   Christopher J. Geddis
Beth G. Baldinger                                                                                  Samuel G. Wildman
Matthew R. Mendelsohn*°                                                                            Julia S. Slater°
David M. Estes                                                                                     Trevor D. Dickson
Adam M. Epstein°
                                                                                                   °Member of N.J. & N.Y. Bars
*Certified by the Supreme Court of
New Jersey as a Civil Trial Attorney


                                                       February 20, 2024

     VIA ECF

     Honorable Robert Kugler, U.S.D.J.                                 Honorable Thomas I. Vanaskie (Ret.)
     U.S. District Court - District of N.J.                            Special Master
     Mitchell S. Cohen Building &                                      Stevens & Lee
      U.S. Courthouse                                                  1500 Market St., East Tower,
     1 John F. Gerry Plaza, Courtroom 4D                                Suite 1800
     4th and Cooper Streets                                            Philadelphia, Pennsylvania 19103
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Kugler and Judge Vanaskie,

                Please accept this letter brief in response to ZHP’s motion to amend its

     Answer.

                ZHP’s Answer was clear, stating that Huahai US, Prinston, and Solco are

     wholly owned subsidiaries of ZHP. This was relied on by Plaintiffs in citing to that

     judicial admission in Plaintiffs’ Statement of Undisputed Material Facts in support
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 of Plaintiffs’ dispositive motions. (ECF 2569-3 ¶ 5). Plaintiffs assumed that this

 was a refinement of the testimony provided by ZHP’s corporate representatives.

       ZHP sought Plaintiffs’ consent to the proposed amendment to the Answer and

 Plaintiffs voiced their concern that they had already relied on the Answer, and did

 not want to consent to a pleading amendment that would suddenly distance ZHP

 from its subsidiaries. ZHP wrote to Plaintiffs on January 29, 2024, and confirmed:

 “As we discussed during this weekend’s meet and confer, ZHP’s First Amended

 Answer simply provides corrected information about the ownership of Solco and

 Prinston – namely that they are not wholly-owned subsidiaries of ZHP, as originally

 stated in the Answer filed on December 7, 2023. Instead, Prinston is a wholly-

 owned subsidiary of the holding company PrinJohnson, of which ZHP is the

 majority owner, and Solco is a wholly-owned subsidiary of Prinston. Defendants

 do not intend to contest that ZHP is the parent of Prinston and Solco, nor to

 inject issues related to PrinJohnson into the trial. With that understanding, can

 we inform the Court that plaintiffs do not object to the motion to amend the

 Answer?” (Ex. 1 hereto). Plaintiffs sought further assurances, ZHP would not agree

 to further discuss, and this motion followed.
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       Plaintiffs do not oppose the motion to amend based on the representation by

 ZHP that it will not contest that it is the parent of Prinston and Solco, regardless of

 the role of PrinJohnson (understood to be a holding company), and request that this

 representation be recited in the Order.

              Thank you for your courtesies and consideration.

                                  Respectfully,


                                  ADAM M. SLATER

 Cc: All counsel of record (via ECF)
